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                                                         - 339 -
                               Nebraska Supreme Court Advance Sheets
                                        307 Nebraska Reports
                                   STATE EX REL. COUNSEL FOR DIS. v. KOZLIK
                                               Cite as 307 Neb. 339



                       State of Nebraska ex rel. Counsel for Discipline
                          of the Nebraska Supreme Court, relator,
                              v. Michael D. Kozlik, respondent.
                                                    ___ N.W.2d ___

                                        Filed September 25, 2020.   No. S-20-459.

                    Original action. Judgment of disbarment.
                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.
                    Per Curiam.
                                      INTRODUCTION
                  On May 22, 2020, the Iowa Supreme Court entered an
               order revoking the license to practice law of the respondent,
               Michael D. Kozlik. The Counsel for Discipline of the Nebraska
               Supreme Court, the relator, filed a motion for reciprocal disci-
               pline against the respondent. We grant the motion for recipro-
               cal discipline and impose discipline of disbarment from the
               practice of law in the State of Nebraska.
                                            FACTS
                  The respondent was admitted to the practice of law in the
               State of Nebraska on September 12, 1979. He was licensed
               to practice law in Iowa in 2000. On May 22, 2020, the Iowa
               Supreme Court entered an order revoking the respondent’s
               license to practice law in Iowa.
                  Based on the respondent’s misappropriation of funds
               while serving as the administrator of his uncle’s estate, the
               Iowa Supreme Court Attorney Disciplinary Board sought
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         Nebraska Supreme Court Advance Sheets
                  307 Nebraska Reports
           STATE EX REL. COUNSEL FOR DIS. v. KOZLIK
                       Cite as 307 Neb. 339
disciplinary sanctions against the respondent based on viola-
tions of the following Iowa Rules of Professional Conduct:
rule 32:8.4(b) (criminal act reflects adversely on lawyer’s
honesty, trustworthiness, or fitness) and rule 32:8.4(c) (mis-
conduct involving dishonesty, fraud, deceit, or misrepresenta-
tion). The respondent argued that the unauthorized payments
were an honest mistake because he believed the payments he
made to himself from the estate were permitted without prior
court authorization, although it is required in Iowa. The com-
mission found a violation of rule 32:8.4(c) and recommended
a public reprimand.
   On review, the Iowa Supreme Court found violations of both
rule 32:8.4(b) and rule 32:8.4(c) and entered an order revok-
ing the respondent’s license to practice law in Iowa. The court
noted numerous examples of the respondent’s prior legal work
in Iowa probate cases to demonstrate his knowledge of the stat-
utes requiring court approval prior to the payment of adminis-
trator fees. In reaching its decision, the court concluded that
the respondent misappropriated funds and breached a fiduciary
duty to the estate.
   On May 14, 2020, the relator filed a motion for reciprocal
discipline pursuant to Neb. Ct. R. § 3-321 of the disciplinary
rules. The motion stated that the above-cited Iowa Supreme
Court rules are in sum and substance the equivalent of Neb. Ct.
R. of Prof. Cond. § 3-508.4(b) and (c) (rev. 2016).
   This court filed an order to show cause as to why it should
not impose reciprocal discipline. On July 8, 2020, the relator
filed a response that requested reciprocal discipline of disbar-
ment. On July 27, the respondent filed a response in which he
requested that this court impose no discipline or, at most, a
public reprimand.

                         ANALYSIS
   The basic issues in a disciplinary proceeding against an
attorney are whether discipline should be imposed and, if so,
the type of discipline appropriate under the circumstances.
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          Nebraska Supreme Court Advance Sheets
                   307 Nebraska Reports
            STATE EX REL. COUNSEL FOR DIS. v. KOZLIK
                        Cite as 307 Neb. 339
State ex rel. Counsel for Dis. v. Murphy, 283 Neb. 982, 814
N.W.2d 107 (2012). In a reciprocal discipline proceeding, a
judicial determination of attorney misconduct in one jurisdic-
tion is generally conclusive proof of guilt and is not subject to
relitigation in the second jurisdiction. Id. Neb. Ct. R. § 3-304
of the disciplinary rules provides that the following may be
considered as discipline for attorney misconduct:
         (A) Misconduct shall be grounds for:
         (1) Disbarment by the Court; or
         (2) Suspension by the Court; or
         (3) Probation by the Court in lieu of or subsequent to
      suspension, on such terms as the Court may designate; or
         (4) Censure and reprimand by the Court; or
         (5) Temporary suspension by the Court; or
         (6) Private reprimand by the Committee on Inquiry or
      Disciplinary Review Board.
         (B) The Court may, in its discretion, impose one or
      more of the disciplinary sanctions set forth above.
Section 3-321 of the disciplinary rules provides in part:
         (A) Upon being disciplined in another jurisdiction, a
      member shall promptly inform the Counsel for Discipline
      of the discipline imposed. Upon receipt by the Court of
      appropriate notice that a member has been disciplined in
      another jurisdiction, the Court may enter an order impos-
      ing the identical discipline, or greater or lesser discipline
      as the Court deems appropriate, or, in its discretion, sus-
      pend the member pending the imposition of final disci-
      pline in such other jurisdiction.
In imposing attorney discipline, we evaluate each case in light
of its particular facts and circumstances. State ex rel. Counsel
for Dis. v. Murphy, supra.
   Upon due consideration of the record, and the facts as deter-
mined by the Iowa Supreme Court, we determine that disbar-
ment is appropriate. Therefore, we grant the motion for recip-
rocal discipline and disbar the respondent from the practice of
law in the State of Nebraska.
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          Nebraska Supreme Court Advance Sheets
                   307 Nebraska Reports
            STATE EX REL. COUNSEL FOR DIS. v. KOZLIK
                        Cite as 307 Neb. 339
                         CONCLUSION
   The motion for reciprocal discipline is granted. It is the judg-
ment of this court that the respondent should be and hereby is
disbarred from the practice of law in the State of Nebraska,
and we therefore order him disbarred from the practice of law,
effective immediately. The respondent shall comply with all
notification requirements by disbarred members provided by
Neb. Ct. R. § 3-316 (rev. 2014), and upon failure to do so, he
shall be subject to punishment for contempt of this court. The
respondent is directed to pay costs and expenses in accordance
with Neb. Rev. Stat. §§ 7-114 and 7-115 (Reissue 2012) and
Neb. Ct. R. §§ 3-310(P) (rev. 2019) and 3-323(B) of the disci-
plinary rules within 60 days after an order imposing costs and
expenses, if any, is entered by the court.
                                   Judgment of disbarment.
